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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION

ANGEL H., 1                                    )
                                               )
        Plaintiﬀ,                              )
                                               )       No. 22 C 50321
v.                                             )
                                               )       Magistrate Judge Laura K. McNally
Martin O’Malley,                       )
Acting Commissioner                            )
of Social Security, 2                          )
                                               )
        Defendant.                             )

                                              ORDER 3

        Before the Court is Plaintiﬀ Angel H.’s memorandum in support of summary

judgment, asking the Court to remand the Administrative Law Judge’s (“ALJ”) decision

denying his applications for disability beneﬁts (D.E. 13: Pl. Mem. in Support of Summ.




1The Court in this order is referring to Plaintiff by his first name and first initial of his last name
in compliance with Internal Operating Procedure No. 22 of this Court.

2 The Court substitutes Martin O’Malley for his predecessor, Kilolo Kijakazi, as the proper
defendant in this action pursuant to Federal Rule of Civil Procedure 25(d) (a public officer’s
successor is automatically substituted as a party).

3 On November 4, 2022, by consent of the parties and pursuant to 28 U.S.C. § 636(c) and Local
Rule 73.1, this case was reassigned to the magistrate judge for all proceedings, including entry of
final judgment. (D.E. 9.)
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J., “Pl. Mem.”) and Defendant’s response in support of summary judgment (D.E. 18:

Def. Mot. for Summ. J., “Resp.”).

I.        Procedural History

          Plaintiﬀ applied for disability insurance beneﬁts on October 7, 2020, alleging

disability beginning November 15, 2019. (R. 278.) His date last insured was December

31, 2022. (Id.) The ALJ held a hearing on January 12, 2022, and on February 15, 2022, the

ALJ issued a written decision denying Plaintiﬀ’s application, ﬁnding him not disabled

under the Social Security Act (the “Act”). 4 This appeal followed. For the reasons

discussed herein, Plaintiﬀ’s motion is granted and the Commissioner’s motion is

denied.

    II.    The ALJ Decision

          The ALJ applied the Social Security Administration’s (“SSA”) ﬁve-step sequential

evaluation process to Plaintiﬀ’s claims. At Step One, the ALJ found that the Plaintiﬀ had

not engaged in substantial gainful activity since his alleged onset date (R. 29.) At Step

Two, the ALJ determined that Plaintiﬀ had the following severe impairments:

osteoarthritis of the right knee, arthritis/spondylolisthesis of the lumbar spine, sciatica,




4The Appeals Council subsequently denied review of the opinion (R. 1), making the ALJ’s
decision the final decision of the Commissioner. Bertaud v. O’Malley, 88 F.4th 1242, 1244 (7th Cir.
2023).


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obesity, depressive disorder, and anxiety disorder. (Id.) 5 At Step Three, the ALJ found

that none of Plaintiﬀ’s impairments met a Listing. (R. 30-31.) Because Plaintiﬀ had

medically determinable mental impairments, the ALJ undertook an analysis of the

Paragraph B factors set out in the disability regulations for evaluating mental disorders

and in section 12.00C of the Listing of Impairments (20 CFR, Part 404, Subpart P,

Appendix 1), determining that Plaintiﬀ had moderate limitations in all four functional

areas. (R. 33-34.) Before Step Four, the ALJ determined that Plaintiﬀ had a residual

functional capacity to

       perform sedentary work as deﬁned in 20 CFR 404.1567(a) except he can
       never climb ladders, ropes, or scaﬀolds; no more than occasionally climb
       ramps or stairs, stoop, crouch, kneel, or crawl; no more than frequently
       use his hands for ﬁne/gross manipulation; must be provided a sit-stand
       option allowing him to stand for 1 to 2 minutes after sitting for 30 minutes;
       and ought to avoid concentrated exposure to work hazards such as
       unprotected heights and dangerous moving machinery. The claimant can
       understand, remember, carry out and sustain no more than routine tasks
       and not engage in complex tasks, performing the same tasks day in and
       day out with no contact with the public for work purses (sic) and no more
       than occasional contact with coworkers and supervisors for work
       purposes. Finally, he may not engage in work where a machine sets the
       pace of work and is limited to going to the same place/location to perform
       work tasks day in and day out.

(R. 34.)




5 The ALJ also found that Plaintiff had the non-severe impairments of numbness and weakness
in his hands, nail fungus, hyperlipidemia, hypertension, diabetes, GERD, fatty liver, and
cholelithiasis (gallstones). (R. 29-30.)

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       At Step Four, the ALJ found Plaintiﬀ was not able to perform any of his previous

work as a delivery driver but found at Step Five that there were signiﬁcant jobs in the

national economy Plaintiﬀ could perform. (R. 43.) Therefore the ALJ held that Plaintiﬀ

was not disabled. (R. 44.)

III.   Legal Standard

       Under the Act, a person is disabled if she has an “inability to engage in any

substantial gainful activity by reason of any medically determinable physical or mental

impairment which can be expected to result in death or which has lasted or can be

expected to last for a continuous period of not less than twelve months.” 42 U.S.C. §

423(d)(1)(a). In order to determine whether a plaintiﬀ is disabled, the ALJ considers the

following ﬁve questions, known as “steps,” in order: (1) Is the plaintiﬀ presently

unemployed? (2) Does the plaintiﬀ have a severe impairment? (3) Does the impairment

meet or medically equal one of a list of speciﬁc impairments enumerated in the

regulations? (4) Is the plaintiﬀ unable to perform her former occupation? and (5) Is the

plaintiﬀ unable to perform any other work? 20 C.F.R. § 416.920(a)(4).

       An aﬃrmative answer at either step three or step ﬁve leads to a ﬁnding that the

plaintiﬀ is disabled. Young v. Sec'y of Health & Human Servs., 957 F.2d 386, 389 (7th Cir.

1992). A negative answer at any step, other than at step three, precludes a ﬁnding of

disability. Id. The plaintiﬀ bears the burden of proof at steps one to four. Id. Once the

plaintiﬀ shows an inability to perform past work, the burden then shifts to the


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Commissioner to show the plaintiﬀ's ability to engage in other work existing in

signiﬁcant numbers in the national economy. Id.

       The Court does not “merely rubber stamp the ALJ's decision on judicial review.”

Prill v. Kijakazi, 23 F.4th 738, 746 (7th Cir. 2022). An ALJ’s decision will be aﬃrmed if it is

supported by “substantial evidence,” which means “such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion.” Biestek v. Berryhill,

587 U.S. 97, 103 (2019). “[T]he threshold for such evidentiary suﬃciency is not high.” Id.

ALJs are “subject to only the most minimal of articulation requirements” and “need not

address every piece or category of evidence identiﬁed by a claimant, fully summarize

the record, or cite support for every proposition or chain of reasoning.” Warnell v.

O’Malley, 97 F.4th 1050, 1053 (7th Cir. 2024). “All we require is that ALJs provide an

explanation for how the evidence leads to their conclusions that is suﬃcient to allow us,

as a reviewing court, to assess the validity of the agency’s ultimate ﬁndings and aﬀord

the appellant meaningful judicial review.” Id. at 1054.

       The Seventh Circuit added that “[a]t times, we have put this in the shorthand

terms of saying an ALJ needs to provide a ‘logical bridge from the evidence to his

conclusion.’” Id. (citation omitted). The Seventh Circuit further has clariﬁed that district

courts, on review of ALJ decisions in Social Security appeals, are subject to a similar

minimal articulation requirement: “A district (or magistrate) judge need only supply the

parties . . . with enough information to follow the material reasoning underpinning a


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decision.” Morales v. O’Malley, 103 F.4th 469, 471 (7th Cir. 2024). The district court’s

review of the ALJ’s opinion “will not reweigh the evidence, resolve debatable

evidentiary conﬂicts, determine credibility, or substitute its judgment for the ALJ’s

determination.” Chavez v. O’Malley, 96 F.4th 1016, 1021 (7th Cir. 2024) (internal

quotations omitted).

IV.    Analysis

       Plaintiﬀ argues that the ALJ erred (1) by improperly analyzing the opinion

evidence, and (2) by improperly discounting Plaintiﬀ’s subjective symptom allegations.

(Pl. Mem. at 8.) Having considered the record and the parties’ briefs, the Court ﬁnds

that a remand is required. Speciﬁcally, the ALJ has not supported with substantial

evidence her rejection of the medical opinions’ residual functional capacity

determinations that Plaintiﬀ is limited to one-to-two step tasks. 6

       A.     The ALJ’s Consideration of Plaintiﬀ’s Mental Functioning

       The Court acknowledges that in determining Plaintiﬀ’s mental residual

functional capacity, the ALJ considered much of the evidence in the record. The ALJ

discussed Plaintiﬀ’s testimony about his depression, anxiety, insomnia, loss of interest

in activities, feelings of worthlessness, and diminished inability to think or concentrate,

and reviewed mental status examinations that conﬁrmed Plaintiﬀ’s depressed mood,




6Because the Court is remanding on the issue of the ALJ’s treatment of the opinion evidence, it
does not reach Plaintiff’s second assignment of error.

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somewhat labile aﬀect, anxious ruminations, and sporadic passive suicidal ideation. (R.

38.) The ALJ also noted, however, that some of those mental status examinations also

revealed that Plaintiﬀ was cooperative, oriented, friendly, had normal attention and

focus, and exhibited fair insight and judgment. (Id.) The ALJ also considered Plaintiﬀ’s

history of mental health treatment including his use of anti-depressant medication as

well as counseling notes that reﬂected symptom ﬂuctuation, (Id.)

       As relevant to the Court’s decision here, the ALJ also evaluated the record’s

medical opinions about Plaintiﬀ’s mental limitations. Frank Froman, Ed.D., examined

Plaintiﬀ in March 2021 on behalf of the state as part of Plaintiﬀ’s claim for beneﬁts. (R.

793-95.) After determining the Plaintiﬀ was credible, Dr. Froman opined that “[i]t is

Angel’s physical issues that have resulted in his psychological problems, and which in

all probability prevent him from being able to perform one and two step assemblies at a

sustained competitive rate. He is still able to relate adequately to others, understand

oral and written instructions, and manage beneﬁts. It is quite unlikely that he would be

able to withstand the stress associated with any form of competitive employment.” (R.

795.) Dr. Froman diagnosed Plaintiﬀ with major depressive disorder – moderate in

severity, panic disorder with encroaching agoraphobia, and low normal mental

intellectual functioning. (Id.)

       The ALJ also reviewed the opinions of the two non-examining state agency

doctors. In April 2021, Howard Tin, Psy.D., opined that Plaintiﬀ was mildly limited in


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his abilities to understand, remember, or apply information and his ability to adapt and

manage himself, and moderately limited in his ability to concentrate, persist, or

maintain pace and in his ability to interact with others. (R. 110.). At the reconsideration

level, Michele Womontree, Psy.D., aﬃrmed Dr. Tin’s opinion except that she found

Plaintiﬀ moderately, and not mildly, limited in his ability to understand, remember,

and apply information. (R. 153, 157.) Speciﬁcally, the two state agency doctors opined

that Plaintiﬀ could

       remember locations or work-like procedures; can understand and
       remember short simple instructions but has diﬃculty remembering
       detailed instructions; can carry out short and simple instructions; has
       diﬃculty carrying out detailed instructions and maintaining attention and
       concentration for extended periods of time but is capable of performing
       simple tasks; has diﬃculty in interacting appropriately with the general
       public so limit work tasks that do not require interaction with the general
       public; has the ability to respond appropriately to changes in work
       settings; and is capable of performing one and two step tasks.

(R. 142, 157.)

       The ALJ found the opinions of Drs. Tin and Womontree to be “generally

persuasive” except for the limitation to one-to-two step tasks. (R. 40.) The ALJ’s ﬁrst

reason for rejecting the one-to-two step task limitation was because the opinion “did not

deﬁne what a ‘step’ is.” (Id.) Second, the ALJ stated that the limitation was inconstant

with the evidence as a whole because Plaintiﬀ was able to drive, “which clearly involves

more than 2 steps including getting the keys/remote, unlocking the vehicle door,

opening the door, getting into the vehicle, closing the vehicle door, putting on your


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seatbelt, adjusting your mirrors, putting the key int the ignition, pressing the brake,

shifting gears, etc.” (Id.) In contrast, the ALJ found Dr. Froman’s opinion unpersuasive

in its entirety because it did not contain the SSA’s function-by-function analysis for

residual functional capacity and did not refer to speciﬁc treatment notes to support an

inability to perform one-to-two step tasks, “especially as the claimant is able to drive.”

(R. 42.)

       B.     The ALJ’s Mental Residual Functional Capacity is Not Supported by
              Substantial Evidence.

       The ALJ erred in her analysis of medical experts’ conclusions regarding Plaintiﬀ’s

one-to-two step limitation. In the Social Security context, the phrase “one-to-two step

tasks” is a term of art. Leon A. v. Kijakazi, No. 20-CV-939, 2022 WL 3226822, at *5 (N.D.

Ill. Aug. 10, 2022). The Department of Labor uses the phrase to distinguish

GED/Reasoning Development Levels, which categorize jobs based on the complexity of

the tasks involved. Shlattman v. Colvin, No. 12 C 10422, 2014 WL 185009, at *7 (N.D. Ill.

Jan. 14, 2014). According to the Dictionary of Occupational Titles, a limitation to one-to-

two step tasks corresponds with Reasoning Development Level 1, which is deﬁned as

the ability to “apply commonsense understanding to carry out simple one- or two-step

instructions. Deal with standardized situations with occasional or no variables in or

from these situations encountered on the job.” DOT, Appendix C § III, 1991 WL 688702

(4th ed. 1991).



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       Here, Drs. Tin and Womontree concluded that Plaintiﬀ was limited to one-to-two

step tasks. (Cites). The ALJ rejected those opinions, ﬁnding them not persuasive. (CITE)

Having reached that conclusion, the ALJ was required to support with substantial

evidence why the opinion was not adopted. See Social Security Ruling 96-8p, 1996 WL

374184, at *7 (“If the RFC assessment conﬂicts with an opinion from a medical source,

the adjudicator must explain why the opinion was not adopted.”).

       Speciﬁcally, the ALJ was required to “evaluate the persuasiveness of each

medical opinion based on certain factors: (1) supportability; (2) consistency; (3) the

medical source's relationship with the claimant; (4) specialization; and (5) other factors,

including the source's familiarity with other evidence in the claim or an understanding

of Social Security disability policies and requirements.” Michelle D. v. Kijakazi, No. 21 C

1561, 2022 WL 972280, at *4 (N.D. Ill. Mar. 31, 2022). See also 20 C.F.R. § 416.920c(c)(1)-

(5). An ALJ must explain how she considered the ﬁrst two factors (supportability and

consistency) but is not required to explain her consideration of the other factors. 20

C.F.R. § 416.920c(b)(2). “Supportability measures how much the objective medical

evidence and supporting explanations presented by a medical source support the

opinion.” Michelle D., 2022 WL 972280, at *4; 20 C.F.R. § 416.920c(c)(1). “Consistency

assesses how a medical opinion squares with other evidence in the record.” Id. See also

20 C.F.R. § 416.920c(c)(2). Although the ALJ here provided an explanation for rejecting

the one- to two-step task limitation, the ALJ's explanation is not supported by


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substantial evidence. See Jarnutowski, 48 F.4th. 769, 774 (7th Cir. 2022) (“[A]n ALJ's RFC

analysis must say enough to enable review of whether the ALJ considered the totality of

a claimant's limitations.”) (internal quotation marks and citation omitted).

       In this case, beyond her complaint that the state agency doctors did not deﬁne

what a “step” is, the ALJ’s sole other reason for rejecting the one-to-two step limitation

was that found the limitation inconsistent with Plaintiﬀ’s ability to drive. Notably, she

did not mention supportability at all. (r. 40.) These reasons are insuﬃcient. Given the

common and accepted use of the term of art “step” in the Dictionary of Occupational

Titles, the ALJ’s summary rejection of the one-to-two limitation for failing to be deﬁned

is not supported by substantial evidence.

       In addition, while the ALJ does not speciﬁcally mention Plaintiﬀ’s reasoning

level in her opinion, the residual functional capacity limits him to work that is

“routine,” and the same “day in and day out.” (R. 34.) That closely tracks Reasoning

Development Level 1, which, in addition to limiting a claimant to one-or-two step

instructions, speciﬁes that those jobs consist of “standardized situations with occasional

or no variables in or from these situations encountered on the job.” While the Court is

unable to conclude if the ALJ intended to limit Plaintiﬀ’s residual functional capacity to

Reasoning Development Level 1 jobs, it is also not apparent why the ALJ eliminated the

one-to-two step task limitation from the residual functional capacity while retaining




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other aspects of the reasoning level. That is, the Court is unable to trace the ALJ’s

reasoning from the evidence to her conclusion.

       The ALJ's only other reason for rejecting the one-to-two step task limitation is

that it was inconsistent with Plaintiﬀ’s ability to drive. Again, the ALJ does not discuss

the supportability of the opinions, instead focusing only on consistency. The ALJ

justiﬁes her conclusion about this inconsistency by pointing to three pages in the

medical record. Two of the pages are from standardized SSA function report forms

completed by Plaintiﬀ and his wife during his application for beneﬁts. In these reports,

Plaintiﬀ and his wife checked boxes conﬁrming Plaintiﬀ’s ability to drive. (318, 336.) In

Plaintiﬀ’s function report, however, he added that his wife usually drives him. (Id.) The

third document referenced by the ALJ is a phone message from Plaintiﬀ to his therapist

in which someone noted that Plaintiﬀ called to ask to reschedule a session “due to

conﬂict w diving family to/from work.” (R. 637.)

       As explained above, the ALJ is generally permitted to discount a medical opinion

if it is not supported by or is inconsistent with other evidence in the record. But here,

the ALJ did not build the necessary logical bridge between the evidence and her

decision to discount the task limitation. The Court cannot trace the ALJ's logic as to how

an acknowledgement that Plaintiﬀ could drive, and apparently did drive on one

occasion, translates into Plaintiﬀ's ability to concentrate and persist on a sustained

basis, including, for example, during an eight-hour workday. See Rodney J. M. v.


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O'Malley, No. 3:23-CV-50236, 2024 WL 3888867, at *4 (N.D. Ill. Aug. 21, 2024)

(remanding because it was unclear how Plaintiﬀ’s ability to drive ﬁve times per month

or twenty minutes three to ﬁve times per week supported rejection of one-to-two step

task limitation) 7.

        In making its ﬁnding, the Court recognizes that there is disagreement in this

circuit about whether a claimant’s ability to drive is a proper basis for rejecting a

limitation to one-to-two step tasks on the ground that driving requires more than two

steps. See, e.g., Lissette B. v. Kijakazi, No. 20-cv-7685, 2023 WL 2572431, at *2-3 (N.D. Ill.

Mar. 20, 2023) (“Although [ALJ] suggested that [claimant's] daily activities, such as

driving, using electronic devices to shop and communicate, and caring for family,

conﬂicted with the ability to perform only one-to-two step tasks, she did not explain

why that was so.”); Fatime I. v. Kijakazi, No. 20-cv-3603, 2022 WL 4605081, at *4 (N.D. Ill.

Sept. 30, 2022) (explaining that ALJ insuﬃciently supported rejection of one-to-two-step

task limitation by merely referencing claimant's ability to drive and brush teeth);

Michael S. v. Saul, No. 19-cv-4033, 2020 WL 4052903, at *5 (N.D. Ill. July 20, 2020)

(explaining that, to reject limitation to one-to-two-step tasks, “[i]It is not enough to



7In Rodney the court remanded after the ALJ offered the nearly word-for-word same reasons as
the ALJ used here for rejecting a one-to-two step limitation: the doctor did not define what
constitutes a “step,” and claimant was able to drive, which ALJ noted “involves grabbing the
keys, unlocking the car door, opening the car door, sitting down, putting the key in the ignition/or
pressing on the brakes and start button to start the car, adjusting the seat/mirrors, putting on a
seat belt, placing hands on the steering wheel, shifting gears, pressing the gas pedal, and
operating the vehicle.”) 2024 WL 3888867, at *3.

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simply state that the tasks above [including driving] require more than one-to-two

steps”); but see Christopher R. v. Kijakazi, No. 21-cv-500, 2023 WL 5017942, at *5 (N.D. Ill.

Aug. 7, 2023) (holding that “[t]he ALJ adequately explained why she rejected the state

agency consultant's ﬁnding” where claimant “testiﬁed and submitted records indicating

that he can drive for more than 30 minutes, and the ALJ explained that driving is an

activity consisting of far more than two steps as it entails ‘follow[ing] the safety rules of

the road, follow[ing] traﬃc signals and stop signs, maintain[ing] control of the car,

navigat[ing] intersections safely, and us[ing] appropriate speed’ ”).

       In this case, however, the ALJ’s apparent determination that an ability to drive

necessarily defeats a one-to-two step task limitation does not constitute the required

substantial evidence for rejecting the medical opinions. That determination, combined

with the other errors described above, compels a remand.


                                      CONCLUSION


       For the foregoing reasons, the Court grants Plaintiﬀ’s motion for summary

judgment seeking to reverse and remand the ALJ’s decision (D.E. 13) and denies

Defendant’s motion for summary judgment. (D.E. 18).


SO ORDERED.

                                           ENTER:

                                           ________________________________

                                           LAURA K. MCNALLY


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                                    United States Magistrate Judge


DATED: December 27, 2024




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